        Case 3:18-cv-00321-JAG Document 72 Filed 04/12/19 Page 1 of 1 PageID# 1110

AO 458 (Rev. 06/09) Appearance of Counsel


                                     United States District Court
                                                             for the
                                                Eastern District of Virginia


John Hall Individually and for Others Similarly Situate )
                      Plaintiff )
                                v. ) Case No. 3:18-cv-00321-JAG
                Dominion Ener y, Inc., et al,                  )
                            Defenda                      t    )

                                              APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          System One Holdin s, LLC


Date: 04/12/2019                                  /s/ J. William Eshelman
                                                                                          Attorney s sig at e


                                                                            J. William Eshelman. Esq. (VSB No. 17583)
                                                                                      Printed name and bar number

                                                                                            Clark Hill PLC
                                                                                  1001 Pennsylvania Avenue, N.W.
                                                                                       Suite 1300 South
                                                                                      Washington, DC 20004
                                                                                               Address


                                                                                     weshelman@clarkhill.com
                                                                                            E-mail address


                                                                                           (202) 552-2374
                                                                                           Telephone number


                                                                                           (202) 572-8692
                                                                                             FAX number
